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                        UNITED STATES DISTRICT COURT FOR THE
                               DISTRICT OF NEW JERSEY

 CREDIT ONE BANK, N.A.                               :
                                                     :       CIVIL ACTION NO. 3:21-cv-02923
                       Petitioner,                   :
                                                     :
        Vs.                                          :
                                                     :       CREDIT ONE BANK, N.A.'S
 ADAM LIEBERMAN AND                                  :       BRIEF IN SUPPORT OF ITS
 GENESE LIEBERMAN,                                   :       MOTION TO COMPEL
                                                     :       COMPLIANCE WITH COURT
                       Respondents.                  :       ORDER


                                       INTRODUCTION

        On April 19, 2022, this Court denied Respondents Adam Lieberman and Genese

 Lieberman (“Respondents”) motion to quash the post-judgment discovery requests of Petitioner

 Credit One Bank, N.A. (“Credit One”) (the “Order”). (ECF No. 34). The Court further ordered

 the Liebermans to respond to Credit One’s outstanding discovery requests by no later than May 3,

 2022 and ordered the Liebermans to appear for a deposition no later than May 17, 2022 (Id.).

        The Liebermans are in violation of the Order for their failure to respond to Credit One’s

 outstanding discovery requests and will not agree to appear for the deposition. Instead, the

 Liebermans filed an appeal and a motion to stay all of Credit One's efforts to discover assets and

 collect on the judgment. The only reason offered by the Liebermans to stay this matter is the

 "undue burden" associated with disclosing their assets and sources of revenue.

        Credit One now brings this Motion to force the Liebermans to comply with the Order.

 Among other reasons, Credit One is concerned that the Liebermans transferred or are in the process

 of transferring assets to avoid collection of the judgment. An order holding the Liebermans in

 contempt and imposing sanctions is appropriate to force the Liebermans to provide the discovery
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 and testimony Credit One requested over seven months ago. The Court should also deem waived

 any objections that the Liebermans may now seek to assert to the discovery requests.

         Finally, the Liebermans should be required to post a bond in the amount of $750 pursuant

 to Fed. R. App. P. 7 to ensure payment of costs on appeal, and the Court should enjoin the

 Liebermans from seeking further relief in this Court unless and until they file a bond as security

 and pursuant to Fed. R. App. P. 8 for the full amount of the underlying judgment so that Credit

 One is not forced to continue to incur fees to respond to the Liebermans’ frivolous motions while

 the appeal is pending.

                                        BACKGROUND

         On August 12, 2021, the Court confirmed Credit One's arbitration award and entered a

 $286,064.62 judgment against the Liebermans based on the fraud which they perpetrated against

 Credit One. (ECF No. 12). On September 9, 2021, Credit One moved to amend the judgment to

 include the counsel fees and costs associated with having the judgment confirmed. (ECF No. 13).

 In October 2021, Credit One served discovery and noticed depositions in aid of discovering assets

 pursuant to Fed. R. Civ. P. 69. (ECF No. 34 at 1). Shortly thereafter, the Liebermans' counsel

 sought to withdraw, which was promptly granted. (Id.). The Liebermans then tried to use the

 pendency of the Credit One's motion to amend the judgment as the basis for not appearing at

 depositions and responding to the asset discovery served by Credit One in October 2021. (ECF

 No. 22). Judge Arpert allowed the Liebermans approximately 60 days to hire new counsel and

 ordered that discovery would resume on January 10, 2022, regardless of whether counsel was

 retained. (ECF No. 24). The Liebermans did not obtain new counsel and shortly before the

 expiration of the stay, on January 6, 2022, the Liebermans moved to quash the pending discovery

 and again tried to use the pendency of the Credit One's motion to amend the judgment as the basis


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 for not appearing at depositions and for not responding to the asset discovery served by Credit One

 in October 2021. (ECF No. 28 ). On April 12, 2022, Judge Thompson entered an order granting

 Credit One’s Motion to Amend/Correct Judgment to reflect a new of $359,948.69. (ECF No. 33).

         On April 19, 2022, Judge Arpert denied the Liebermans’ motion to quash the discovery,

 finding that the Liebermans “have offered nothing but unsubstantiated allegations of “annoyance,

 embarrassment, oppression, harassment and undue burden and expense” which was “not sufficient

 to establish good cause for entry of a Protective Order.” (ECF No. 34). Judge Arpert further

 ordered the Liebermans to respond to Credit One’s discovery requests no later than May 3, 2022,

 and to appear for a deposition no later than May 17, 2022. (Id.)

         In early May 2022, having not timely received discovery responses from the Liebermans,

 counsel for Credit One attempted to meet and confer with the Liebermans responses on multiple

 occasions. See Declaration of Andrew Soven at 3, attached hereto as Exhibit A (the “Soven

 Decl.”). Rather than respond to the requests, the Liebermans provided a few documents purporting

 to show their debts and asked Credit One to release them from the judgment entirely. (Id.) The

 Liebermans did not provide a single document showing current assets or income. (Id.). Counsel

 asked Mr. Lieberman to complete a simple personal financial statement to potentially reduce the

 burden associated with discovery and sent Mr. Lieberman an appropriate form. Mr. Lieberman

 refused. (Id.).

         To date, in violation of this Court’s order, the Liebermans have failed to respond to Credit

 One’s discovery requests. Nor have the Liebermans asserted any objections to the requests. (Id.).

 The Liebermans do not intend to appear for their depositions noticed for May 17, 2022, as they

 would not confirm to counsel that they will be present, and as is further evidenced by their Motion

 to Stay Pending Appeal. (Soven Decl. at 3; ECF No. 38).


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          To date, the Liebermans have not posted a supersedeas bond pursuant to Fed. R. Civ. P.

 62(b) and the case is not stayed.

                                       LEGAL ARGUMENT

          Credit One respectfully requests that the Court enter an order holding the Liebermans in

 contempt and imposing sanctions of $100 per day until the Liebermans come into compliance

 with the Court’s Order. Credit One also respectfully requests that the Court award Credit One

 $2,500 for its attorneys’ fees for these contempt proceedings, and further requests the Court

 deem as waived any objections that the Liebermans may now seek to assert to the discovery

 requests, particularly since the Liebermans were given many opportunities over the past seven

 months and failed to do so. The Court should also require the Liebermans to post a bond in the

 amount of $750 pursuant to Fed. R. App. P. 7 to ensure payment of costs on appeal, and the

 Court should enjoin the Liebermans from seeking further relief in this Court unless and until they

 file a bond as security and pursuant to Fed. R. App. P. 8 for the full amount of the underlying

 judgment so that Credit One is not forced to continue to incur fees to respond to the Liebermans’

 frivolous motions while the appeal is pending.

     I.          The Liebermans are in Contempt of the Court’s Order Dated April 19, 2022.

          The Court should hold the Liebermans in contempt for failing to comply with the Court’s

 Order requiring that the Liebermans failed to respond to Credit One’s discovery requests by May

 3, 2022.

          Proof of contempt requires a movant to demonstrate “(1) that a valid order of the court

 existed; (2) that the defendants had knowledge of the order; and (3) that the defendants disobeyed

 the order.” F.T.C. v. Lane Labs- USA, Inc., 624 F.3d 575, 582 (3rd Cir. 2010).




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           Here, on April 19, 2022, a valid order of the Court was entered requiring the Liebermans

 to respond to Credit One’s discovery requests no later than 14 days from the date of the Order

 (May 3, 2022), and required that the Liebermans appear for a deposition no later than 28 days from

 the date of the order (May 17, 2022). (ECF No. 34). Mr. Lieberman consented to receive

 documents and notices of electronic filings via the Court’s electronic filing system. (ECF No. 26).

 Notice of the Order was given to all parties on April 19, 2022. (ECF No. 34). To date, the

 Liebermans have not objected or otherwise responded to Credit One’s discovery requests. See

 Soven Decl. at 5. The Liebermans have therefore disobeyed the Court’s Order.

           For these reasons, the Court should hold the Liebermans in contempt for failure to comply

 with the Court’s April 19, 2022 Order (ECF No. 34) even though they are well aware that discovery

 in aid of execution and execution efforts are not stayed merely because the debtor files an appeal.

     II.         The Court Should Enter Sanctions Against the Liebermans for Failing to
                 Comply with the April 19, 2022 Order.

     Given the Lieberman’s blatant non-compliance with the Court’s Order and the risk that the

 Liebermans moved or are in the process of moving assets to avoid paying the judgment, Credit

 One asserts that it is necessary for the Court to enter sanctions against the Liebermans to force

 compliance with the Court’s Order. In similar circumstances, Courts have awarded monetary

 sanctions in the amount of $100 per day until compliance is achieved, along with attorneys’ fees

 incurred for the contempt proceedings. The Court should do the same here.          The Liebermans

 apparently have assets as they did not ask the Third Circuit to waive filing fees when they filed

 their appeal.

           This Court maintains jurisdiction to rule on discovery issues in aid of execution after an

 appeal is filed where the judgment is not superseded. See, e.g., Shelton v. FCS Cap. LLC, No.

 2:18-CV-03723-JDW, 2020 WL 4196211, at *1 (E.D. Pa. July 21, 2020); Brae Asset Funding,

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 L.P. v. Applied Financial, LLC, No. C 05-02490 WHA, 2006 WL 3497876, at *3 (N.D. Cal. Dec.

 4, 2006) (“discovery in aid of [the] execution [of a judgment] is not precluded by the filing of an

 appeal”); Ryan Inv. Corp. v. Pedregal de Cabo San Lucas, No. C 06-3219 JW (RS), 2009 WL

 5114077, at *2 (N.D. Cal. Dec. 18, 2009) (citing Brae).

     Fed. R. Civ. P. 37(b)(2)(A) sets forth certain sanctions which the Court may Order where a

 party fails to obey a discovery Order. These include:

         (2) Sanctions Sought in the District Where the Action Is Pending.

                 (A) For Not Obeying a Discovery Order. If a party or a party's
                 officer, director, or managing agent—or a witness designated under
                 Rule 30(b)(6) or 31(a)(4)—fails to obey an order to provide or
                 permit discovery, including an order under Rule 26(f), 35, or 37(a),
                 the court where the action is pending may issue further just orders.

                 They may include the following:
                 (vii) treating as contempt of court the failure to obey any order
                 except an order to submit to a physical or mental examination.

 Fed. R. Civ. P. 37(b)(2)(A).

         Federal Rule of Civil Procedure 37(a)(5) requires courts to award reasonable expenses,

 including attorneys’ fees, if it grants a discovery motion.

         According to their testimony during the underlying arbitration, the Liebermans are high

 income earning individuals with household income ranging from $200,000-$400,000 in years

 2017, 2018, and 2019 (although some of this amount was "earned" through filing fraud-based

 lawsuits substantially identical to the claim which they filed against Credit One). See Soven Decl.

 at 4. Sanctions are necessary here in order to prevent further delay which would allow the

 Liebermans even more time to move or transfer assets that could otherwise be used to satisfy Credit

 One’s judgment. Just like the defendants in Shelton, the Liebermans “cannot pick and choose

 whether they want to comply with the Court's Order. They will have their chance to voice


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 disagreement with the Court's decisions on appeal. In the meantime, if they want to stay execution

 of the judgment against them, they have to follow the Rules.” Shelton, 2020 WL 4196211, at *4.

     The Liebermans have not posted a bond -- nor do they offer to do so in their motion for stay

 and there is no just cause to further delay responding to Credit One’s discovery requests. Credit

 One respectfully requests that the Court award sanctions in the amount of $100 per day until the

 Liebermans come into compliance with the Order, and award Credit One $2,500 in attorneys’ fees

 for Credit One’s continued pursuit of the discovery through these proceedings. Courts have

 awarded fees and have found $100 per day to be a reasonable sanction in similar cases. See, e.g.

 Shelton v. FCS Cap. LLC, 2020 WL 4196211, at *1; see also Soven Decl. at 6.

     III.        The Court Should Rule That Any Objections to Credit One’s Discovery Requests
                 are Deemed Waived.

            The Liebermans have had Credit One’s discovery requests in their possession since

 October 2021. Despite many opportunities to respond, they failed to do so and have also failed to

 assert any objections to the discovery. As such, any objections that the Liebermans may now seek

 to assert to the discovery requests have been waived. In the same context (judgment debtor

 refusing to respond to post-judgment discovery), the Shelton court found that “Defendants waived

 the objections by not making timely objections.” Shelton, 2020 WL 4196211, at *3 (finding that).

 The Court should do the same here.

     IV.         The Court Should Require the Liebermans to File A Bond Pursuant to FRAP 7 to
                 Secure the Costs to be Incurred by Credit One in Connection with the Appeal

            Federal Rule of Appellate Procedure 7 provides that "[i]n a civil case, the district court may

 require an appellant to file a bond or provide other security in any form and amount necessary to

 ensure payment of costs on appeal. Rule 8(b) applies to a surety on a bond given under this rule."




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          The Liebermans should be required to post security to cover the costs which will very likely

 be taxed against them when their appeal fails. Accordingly, Credit One respectfully requests that

 the Liebermans be directed to post a bond of no less than $750 pursuant to FRAP 7.

     V.          The Court Should Require the Liebermans to File A Bond Prior Pursuant to
                 FRAP 8 Prior To Considering Any Further Relief to the Liebermans.

     In seeking to confirm its arbitration award, and in executing on its judgment, Credit One has

 been met with objections and motion practice from the Liebermans at every turn, causing much

 delay and substantial attorneys’ fees. The Court should enjoin the Liebermans from seeking

 further relief in this Court unless and until they file a bond.

     The district court may enter an order “suspending, modifying, restoring, or granting an

 injunction while an appeal is pending.” Fed. R. App. P. 8(a)(1)(C). Moreover, the Court may

 requires as a “condition relief on a party’s filing a bond or other security in the district court.” Fed.

 R. App. P. 8(a)(2)(E).

          Accordingly, Credit One respectfully requests that the Court enjoin the Liebermans from

 requesting further relief in this Court unless and until the Liebermans post a bond as security for

 the underlying judgment.

                                            CONCLUSION

          For the reasons set forth herein, Credit One respectfully requests that the Court grant its

 motion to compel compliance with the Court’s Order.

          WHEREFORE, Credit One prays that the Court enter an order:

     1. Holding the Liebermans in Contempt of the Court’s April 19, 2022 Order (ECF No. 34);

     2. Impose sanctions on the Liebermans in the amount of $100 per day until they comply with

          the April 19, 2022 Order (ECF No. 34);

     3. Award Credit One attorneys’ fees in the amount of $2,500 for these contempt proceedings;

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     4. Find that any objections the Liebermans may seek to assert to Credit One’s discovery

         requests are waived;

     5. Require the Liebermans to post a bond of no less than $750 pursuant to Fed. R. App. P. 7;

     6. Enjoin the Liebermans from seeking further relief in this Court unless and until a bond is

         filed for the entire amount of the judgment pursuant to Fed. R. App. P. 8; and

     7. For such other relief that this Court may deem just and proper.



                                                      Respectfully submitted,

                                                      /s/ Andrew J. Soven
                                                      Andrew J. Soven
                                                      NJ Attorney No. 023671995
                                                      HOLLAND & KNIGHT LLP
                                                      2929 Arch Street, Suite 800
                                                      Philadelphia, PA 19104
                                                      Phone: 215-252-9554
                                                      Andrew.Soven@hklaw.com

                                                      Counsel for Credit One Bank, N.A.

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